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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

THE MAYA GROUP, INC.,

       Plaintiff,                                             Case No.: 1:19-cv-04690

v.                                                            Judge Robert M. Dow, Jr.

THE PARTNERSHIPS AND UNINCORPORATED                           Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.




                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on October 4, 2019 [34] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

                    NO.                             DEFENDANT
                     14                             RETON STORE
                    261                           YX Franchised Store
                    275                           WITUSE Online Store
                    282                         WITUSE Direct Sales Store
                    287                         WITUSE Franchised Store
                    433                        WITUSE Homey Homes Store
                    307                            RC Limsker Store
                    331                             RCONLY Store
                    560                         LemonBest Upward Store
                    412                          Smarter TOYBar Store
                    401                             YYSSGO Store
                    477                             QWWSS Store
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       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: October 22, 2019                            Respectfully submitted,




                                                       ling Jiang
                                                   JiangIP LLC
                                                   111 West Jackson Blvd.
                                                   Suite 1700
                                                   Chicago, Illinois 60604
                                                   Telephone: 312-675-6297
                                                   Email: yanling@jiangip.com

                                                   ATTORNEY FOR PLAINTIFF


Subscribed and sworn before me by Yanling Jiang, on this 22nd day of October,

2019. Given under by hand and notarial seal.



               OFFICIAL SEAL
             OLLIE B. JONES
        Notary Public - State of Illinois   Notary Public
      My Commission Expires 4/07/2022

                                            State of ::[,/II J1 o t S
                                            County of    CO tJ le.
